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               IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF HAWAII

 TODD YUKUTAKE and DAVID           )
 KIKUKAWA                          )
                                   )
 Plaintiffs,                       )
                                   ) Civil Action No. 19-578 (JMS-RT)
 v.                                )
                                   )
 CLARE E. CONNORS, in her          ) MEMORANDUM IN SUPPORT OF
 Official Capacity as the Attorney ) PLAINTIFFS’ MOTION FOR
 General of the State of Hawaii    ) SUMMARY JUDGMENT
                                   )
                                   )    TRIAL: Not Scheduled
                                   )    JUDGE: Hon. J. Michael Seabright
                                   )    HEARING DATE: N/A
 Defendants.                       )
 _______________________________)

     MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                  SUMMARY JUDGMENT
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      I.      Introduction

           Plaintiffs challenge Hawaii law to the extent that it 1) requires firearms to be

 brought to the police station to be registered and 2) that permits to acquire handguns

 expire ten days after issuance. See Verified Amended Complaint (“VAC”) ¶¶ 79-80,

 86-87. An identical bring-your-gun-to-the-station requirement was already struck

 down by the D.C. Court of Appeals in Heller v. Dist. of Columbia, 801 F.3d 264,

 (D.C. Cir. 2015) (Heller III). This Court should follow that Court’s precedent here.

 For the reasons set out below, both requirements are insufficiently tailored to survive

 any applicable level of scrutiny and should be struck as violative of the Second

 Amendment. Plaintiffs filed their verified complaint on October 24, 2019 [Docket

 No. 1] and their VAC on October 30, 2020 [Docket No. 78].1

           a. Plaintiff Todd Yukutake

           Plaintiff Todd Yukutake (“Yukutake”) is a native Hawaiian and currently

 resides on the island of Oahu. [VAC at ¶¶ 50-51]. Yukutake is an honorably retried

 Army Captain after twenty years of service in the Army National Guard. [Id. at ¶

 52]. Yukutake is employed as an armed protective security officer for a company

 which contracts with the federal government and he guards federal property. [Id. at

 ¶¶ 53-55]. Yukutake is unable to take personal firearms onto federal property and

 typically parks on federal property. As such, in order to register a new firearm,


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     All references will be to the Verified Amended Complaint unless stated otherwise.
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 Yukutake must take time off work, drive home to retrieve the firearm, drive to

 Honolulu Police Department [HPD] to register it, drive back home to secure the

 firearm, then drive back to work. [Id. at ¶ 55].

       Yukutake is also a firearms instructor and currently legally owns handguns.

 [Id. at ¶¶ 56-57]. Yukutake routinely works during the time that HPD’s Firearms

 Unit Office is open. [Id. at ¶¶ 58]. Yukutake plans on purchasing additional

 handguns in the near future and will be required to take additional time off work in

 order to do so. [Id. at ¶¶ 61-62]. Yukutake is not a prohibited person and does not

 use illegal drugs or abuse alcohol. [Id. at ¶¶ 63-65].

       b. Plaintiff David Kikukawa

       Plaintiff David Kikukawa (“Kikukawa”) is employed as a Diver Medic and

 Lead Systems Operator for an emergency medical and critical care facility. [VAC

 at ¶ 66]. In order to bring a firearm to HPD for registration during a workday,

 Kikukawa must take time off work, drive home to retrieve the firearm, drive to HPD

 to register the firearm, drive back home to secure the firearm and then drive back to

 work. [Id. at ¶ 67].

       Kikukawa currently legally owns handguns. [Id. at ¶ 68]. Kikukawa routinely

 works during the time that HPD’s Firearms Permit Unit Office is open and he must

 take time off of work to purchase and register handguns. [Id. at ¶¶ 69-70]. Kikukawa

 states that it is often difficult for him to take off from work and when he does, he


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 either must use personal time or a vacation day to take off. [Id. at ¶ 71]. Kikukawa’s

 position as a Diver Medic requires that he be on call for emergencies and maintain

 a thirty-minute response time to the hospital where he works. These emergencies

 may make it impossible to register his newly purchased handgun within the time

 constraints that HPD requires. [Id. at ¶ 72].          Kikukawa plans on purchasing

 additional handguns in the near future and will be required to take additional time

 off work to do so. [Id. at ¶¶ 73-74]. Kikukawa is not a prohibited person and does

 not abuse alcohol or use drugs. [Id. at ¶¶ 75-77].

    II.       Legal Standard

           Summary judgment is proper where there is no genuine issue of material fact

 and the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a).

 Rule 56(a) mandates summary judgment “against a party who fails to make a

 showing sufficient to establish the existence of an element essential to the party's

 case, and on which that party will bear the burden of proof at trial.” Celotex Corp.

 v. Catrett, 477 U.S. 317, 322, 106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986).

    III.      Hawaii Law

           H.R.S. § 134-2(e) provides, in relevant part, that: “[p]ermits issued to acquire

 any pistol or revolver shall be void unless used within ten days after the date of issue.

 Permits to acquire a pistol or revolver shall require a separate application and permit

 for each transaction.” With regard to long guns, “[p]ermits issued to acquire any


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 rifle or shotgun shall entitle the permittee to make subsequent purchases of rifles or

 shotguns for a period of one year from the date of issue without a separate application

 and permit for each acquisition…” Id.

       H.R.S. § 134-3(b) provides, in relevant part, that: “[e]very person who

 acquires a firearm pursuant to section 134-2 shall register the firearm in the manner

 prescribed by this section within five days of acquisition. The registration shall be

 on forms prescribed by the attorney general, which shall be uniform throughout the

 State, and shall include the following information: name of the manufacturer and

 importer; model; type of action; caliber or gauge; serial number; and source from

 which receipt was obtained, including the name and address of the prior registrant.”

       H.R.S. § 134-3(c), as amended by HB 2744 H.D. 1, S.D. 2, requires that “[a]ll

 other firearms and firearm receivers registered under this section shall be physically

 inspected by the respective county chief of police or the chief’s representative at the

 time of registration.”

    IV.    Argument

    a. The Challenged Laws Are Not Longstanding
       The laws at issue in this litigation are not longstanding. The in-person

 registration law is less than a year old as it only became law in 2020. The ten-day

 expiration appears to have been enacted by L. 1933-4, c. 26, s. 4. and states, in

 pertinent part, “[s]uch permit shall be void unless used within ten days after the date


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 of issue.” Chapter 81, Sec. 2542 (1935). This requirement does not trace any

 historical basis in Hawaii beyond becoming law in 1934 or 1935. This requirement

 is less than ninety years old and is of twentieth-century vintage.

       These are not longstanding laws based on circuit precedent. Recently, the

 Ninth Circuit, sitting en banc, stated in Young v. Hawaii, 2021 U.S. App. LEXIS

 8571, at *104 (9th Cir. Mar. 24, 2021) that “[w]e are not inclined to review

 twentieth-century developments in detail, in part because they may be less reliable

 as evidence of the original meaning of the American right to keep and bear arms.”

 Thus, Ninth Circuit precedent strongly suggests that a law must have an analog from

 the ratification of the Second Amendment in order to be longstanding. The laws at

 issue in this litigation are not longstanding and burden activity within the scope of

 the Second Amendment. This is in line with prior Ninth Circuit precedent.

       In Chovan, for example, the Ninth Circuit expressed strong doubts that bans

 on firearm possession for violent offenders were sufficiently longstanding because

 the first known restriction was not enacted until 1938. United States v. Chovan, 735

 F.3d 1127, 1137 (9th Cir. 2013) (citation omitted). In Jackson, the Ninth Circuit

 reviewed regulations on handgun storage and sales of certain ammunition and keyed

 its analysis to analogues in founding-era and Reconstruction-era fire safety

 laws. Jackson v. City & Cty. of S.F., 746 F.3d 953, 962-63 (9th Cir. 2014).




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       While dicta from Fyock suggests that “early twentieth century regulations

 might nevertheless demonstrate a history of longstanding regulation if their

 historical prevalence and significance is properly developed in the record” 2, this

 dicta is not binding on this court. Fyock v. City of Sunnyvale, 779 F.3d 991, 997 (9th

 Cir. 2015). “When an opinion issues for the Court, it is not only the result but also

 those portions of the opinion necessary to that result by which we are bound.”

 Seminole Tribe v. Fla., 517 U.S. 44, 67 (1996).           Here, Fyock’s dicta about

 longstanding regulation was not necessary to its result. In Fyock, the court found that

 the magazine law at issue was not longstanding, high-capacity magazines are

 protected by the Second Amendment and then applied intermediate scrutiny to

 uphold the ban. Fyock, 779 F.3d at 1001 More to the point, Chovan predates Fyock,

 and when a panel contradicts each other, generally the earlier panel opinion must be

 the controlling precedent because the later panel cannot overrule the prior panel. See

 Avagyan v. Holder, 646 F.3d 672, 677 (9th Cir. 2011) (“A three-judge panel cannot

 reconsider or overrule circuit precedent unless ‘an intervening Supreme Court

 decision undermines an existing precedent of the Ninth Circuit, and both cases are

 closely on point.’”). More to the point, Young has clarified that in this Circuit,

 twentieth century era laws are not reviewed “in detail” because “they may be less



 2
   Even if this were binding, there is no historical prevalence in Hawaii’s law for the
 in-person registration requirement or for a ten-day expiration of a permit.
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 reliable as evidence of the original meaning of the American right to keep and bear

 arms.” Young, 2021 U.S. App. LEXIS at *104.

          Case law from the D.C. Circuit and Fifth Circuit also supports the proposition

 that twentieth century laws are not longstanding. In Heller II, the D.C. Circuit merely

 “presume[d]” that “the District's basic registration requirement…does not impinge

 upon the right protected by the Second Amendment.” Heller v. District of Columbia,

 670 F.3d 1244, 1254 (D.C. Cir. 2011) (Heller II).3 It only upheld that presumption

 because it “[found] no basis in either the historical record or the record of this case

 to rebut that presumption” and because the “basic registration requirements are self-

 evidently de minimis.” Id. at 1255. Similarly, the Fifth Circuit upheld a firearms

 restriction on young adults under 21 based on a historical analysis that looked to the

 colonial era. The Fifth Circuit’s extensive historical analysis of the Founding Era

 determined “the term ‘minor’ or ‘infant’—as those terms were historically

 understood—applied to persons under the age of 21.” NRA of Am. v. Bureau of

 Alcohol, 700 F.3d 185, 201 (5th Cir. 2012). Even then, “in an abundance of caution”,

 the Fifth Circuit assumed intermediate scrutiny applied to the restriction before

 upholding it. Id. at 204.

          The restrictions at issue in this litigation should also not be deemed

 presumptively lawful as conditions and qualifications on the commercial sale of


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     Plaintiffs have not challenged the basic registration requirement in Hawaii law.
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 arms as opined by Heller. That passage does not suggest some commercial

 regulation of arms falls outside of constitutional scrutiny. Rather, unlike historically

 unprotected conduct, the Heller Court was simply stating that post-Heller, many

 regulations on the sale of arms would still be constitutional rather than be outside of

 constitutional scrutiny. Plaintiffs’ position makes sense in light of Heller’s holding

 that “[c]onstitutional rights are enshrined with the scope they were understood to

 have when the people adopted them.” District of Columbia v. Heller, 554 U.S. 570,

 634.

        Precedent makes clear that the regulations at issue in this litigation infringes

 on protected conduct. In Jackson v. City & Cty. of S.F., 746 F.3d 953 (9th Cir. 2014),

 the Ninth Circuit reviewed San Francisco’s ban on the sale of hollow point

 ammunition. Despite the law at issue regulating commercial sales of ammunition,

 it applied intermediate scrutiny to review the ban and it held the ban only burdened

 the right indirectly because the plaintiff could still use hollow points and possess

 them, she just could not purchase them in San Francisco. Jackson, 746 F.3d at 968.

        Similarly, in reviewing ten separate registration requirements, the D.C. Circuit

 court found that all ten were subject to constitutional scrutiny. “In Heller II, we held

 the additional requirements, as they then stood, ‘affect[ed] the Second Amendment

 right because they [we]re not de minimis’ — that is, they ‘ma[d]e it considerably

 more difficult for a person lawfully to acquire and keep a firearm ... for the purpose


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 of self-defense in the home.’ Id. at 1255… Those requirements are therefore subject

 to intermediate scrutiny.” Heller v. District of Columbia, 801 F.3d 264, 274 (2015)

 (Heller III). Similarly, the Ninth Circuit assumed intermediate scrutiny applied in

 Pena v. Lindley, 898 F.3d 969 (9th Cir. 2018), when evaluating a challenge to a ban

 on the sale, but not ownership of, certain types of handguns. And in Silvester v.

 Harris, 843 F.3d 816 (9th Cir. 2016), in evaluating a challenge to California’s ten-

 day waiting period, the Ninth Circuit “assume[d], without deciding, that the

 regulation is within the scope of the Amendment and is not the type of regulation

 that must be considered presumptively valid.” Id. at 826-827. This Court should find

 that the laws Plaintiffs complain of infringe on protected conduct. Even if this Court

 were to find the laws at issue are presumptively lawful, it should find Plaintiffs have

 rebutted that presumption. “Unless flagged as irrebuttable, presumptions are

 rebuttable. [citations omitted]” Binderup v. AG of United States, 836 F.3d 336, 350

 (3d Cir. 2016).

       This is in accord with the Sixth Circuit in Tyler v. Hillsdale Cty. Sheriff's

 Dep't, 837 F.3d 678 (6th Cir. 2016) which found some people who have been

 involuntarily committed may have Second Amendment rights. “As the Seventh

 Circuit has recognized, the Heller Court's observation regarding the presumptive

 lawfulness of longstanding bans is precautionary, not conclusive….” Tyler, 837 F.3d

 at 687 (citation omitted). Similarly, in Heller II, the D.C. Circuit “presume[d]” that


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 “the District's basic registration requirement…does not impinge upon the right

 protected by the Second Amendment.” Heller v. District of Columbia, 670 F.3d

 1244, 1254 (D.C. Cir. 2011). It only upheld that presumption because it “[found] no

 basis in either the historical record or the record of this case to rebut that

 presumption” and because the “basic registration requirements are self-evidently de

 minimis.” Heller II, 670 F.3d at 1255. Most recently, the U.S. District Court for the

 Southern District of California adopted this approach and found “a longstanding

 regulation of commercial sales of arms is presumptively lawful, but a plaintiff may

 “‘rebut this presumption by showing the regulation does have more than a de

 minimis effect upon his [Second Amendment] right.’” Pena, 898 F.3d at 1010

 (quoting Heller II, 670 F.3d at 1253).” Renna v. Becerra, 2021 U.S. Dist. LEXIS

 78634, at *14 (S.D. Cal. Apr. 23, 2021).

       By analogy, this Court should find that Plaintiffs have rebutted the

 presumption of constitutionality if it finds the Hawaii laws at issue are presumptively

 lawful. First, the restrictions are not de minimis. They are a substantial burden on

 Plaintiffs’ rights as demonstrated herein. Second, the traditional justification for the

 relevant registration laws is no longer present with digital programs such as rap back

 in use, as discussed below. For all these reasons, even if this Court finds that the

 laws at issue are presumptively constitutional, it should find that Plaintiffs have

 rebutted that presumption and subject the laws to constitutional scrutiny.


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    b. Strict Scrutiny Applies to Both Requirements

       The Ninth Circuit “along with the majority of our sister circuits, has adopted

 a two-step inquiry in deciding Second Amendment cases: first, the court asks

 whether the challenged law burdens conduct protected by the Second Amendment;

 and if so, the court must then apply the appropriate level of scrutiny.” See Silvester

 v. Harris, 843 F.3d 816, 820-821 (9th Cir. 2016). “In the first step, we ask ‘whether

 the challenged law burdens conduct protected by the Second Amendment,’ [United

 States v. Chovan, 735 F.3d 1127, 1136 (9th Cir. 2013)], based on a ‘historical

 understanding of the scope of the [Second Amendment] right,’ Heller, 554 U.S. at

 625, or whether the challenged law falls within a ‘well-defined and narrowly limited’

 category of prohibitions ‘that have been historically unprotected,’” See Jackson v.

 City & County of San Francisco, 746 F.3d 953, 960 (9th Cir. 2014). If the challenge

 survives the first step, the next step is to determine the appropriate level of scrutiny.

 “In ascertaining the proper level of scrutiny, the court must consider: (1) how close

 the challenged law comes to the core of the Second Amendment right, and (2) the

 severity of the law's burden on that right.” Id. at 960-61.

       “The result is a sliding scale. A law that imposes such a severe restriction on

 the fundamental right of self defense of the home that it amounts to a destruction of

 the Second Amendment right is unconstitutional under any level of scrutiny.” Id. at

 961. That is what was involved in District of Columbia v. Heller, 554 U.S. 570,


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 628-629 (2008). A law that implicates the core of the Second Amendment right and

 severely burdens that right warrants strict scrutiny. See Chovan, 735 F.3d at 1138.

 Otherwise, intermediate scrutiny is appropriate. “[I]f a challenged law does not

 implicate a core Second Amendment right, or does not place a substantial burden on

 the Second Amendment right, the court may apply intermediate scrutiny.” Silvester,

 843 F.3d at 821. “Indeed, in Chovan, we applied ‘intermediate’ rather than ‘strict’

 judicial scrutiny in part because section 922(g)(9)’s ‘burden’ on Second Amendment

 rights was ‘lightened’ by [various] mechanisms.” Fisher v. Kealoha, 855 F.3d

 1067,1071 (9th Cir. 2017).

       Here, strict scrutiny should apply to both laws because they both implicate a

 core Second Amendment right and impose substantial burdens on Plaintiffs’ Second

 Amendment rights. This case is also like a recent case from the Northern Marianas

 Islands. There, the district court held that a firearm registration scheme did not

 “rationally serve [the] interest” of protecting public welfare. Murphy v. Guerrero,

 No. 1:14-CV-00026, 2016 U.S. Dist. LEXIS 135684, at *35 (D. N. Mar. I. Sep. 28,

 2016). It did so despite the government alleging that the registration was a de

 minimis burden. Regardless of whether this Court “implements an ‘important

 government objective’ (intermediate scrutiny) or a ‘compelling state interest’ (strict

 scrutiny)”, these laws are “neither ‘substantially related’ nor ‘narrowly tailored’ to




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 such interests.” Fotoudis v. City & County of Honolulu, 54 F. Supp. 3d 1136, 1144

 (D. Haw. 2014).

    c. The Ten-Day Expiration of the Permit to Acquire Handguns is
       Unconstitutional

       It is important to note that the issue here is the permit to acquire a handgun.

 As the Supreme Court stated, “… the American people have considered the handgun

 to be the quintessential self-defense weapon.” District of Columbia v. Heller, 554

 U.S. 570, 629, 128 S. Ct. 2783, 2818 (2008). While not a ban on the possession

 inside the home like the Heller case, Hawaii’s law imposes substantial burdens on

 the core right secured by the Second Amendment.

       In Silvester v. Harris, the Ninth Circuit reviewed and ultimately upheld,

 California’s ten-day waiting period to purchase a firearm and assumed intermediate

 scrutiny applied. The Ninth Circuit upheld the waiting period because the purpose

 of the waiting period was to provide a “cooling-off period to deter violence resulting

 from impulsive purchases of firearms” and was sufficiently tailored to the

 government’s interest of public safety. Silvester v. Harris, 843 F.3d 816, 829 (9th

 Cir. 2016). The instant case is distinguishable. Plaintiffs already must undergo a 14-

 day waiting period pursuant to Hawaii law. See H.R.S. 134-2. Unlike the waiting

 period in Silvester, the ten-day requirement to use a permit to acquire does not further

 any public safety interest because the applicants have already been vetted and

 cleared under the 14-day waiting period/background check. Instead, invalidating an

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 otherwise valid permit on an arbitrary timeline creates a substantial burden on

 Plaintiffs’ Second Amendment rights.

         The State may argue the requirements are needed to find out whether

 applicants have become addicted to drugs, diagnosed with mental disorders, and/or

 had a restraining order issued against them.4 However, there is already a mechanism

 within the H.R.S. to notify the police of these facts. H.R.S. 134-7(g) already requires

 “[a]ny person disqualified from ownership, possession, control, or the right to

 transfer ownership of firearms and ammunition under this section shall surrender or

 dispose of all firearms and ammunition in compliance with section 134-7.3.” As for

 protective orders, H.R.S. § 134-7(3)(f) already notifies the police and requires that

 they seize firearms owned by anyone that has had a protective order issued against

 them.

         Strict scrutiny applies when a law causes a “substantial burden” on a litigant’s

 Second Amendment rights. See Silvester, 843 F.3d at 827. Here, the law is a

 substantial burden on Plaintiffs’ Second Amendment rights as Plaintiffs are required

 to take time off work to make their firearms purchase in quick succession after they

 have already taken several other days off work to obtain the permit to acquire and

 after they have already waited 14 days for the waiting period/background check and


 4
   It boggles the mind that within a ten-day period, the State actually thinks any of
 this may or will happen, but if it does happen, it will only happen with respect to a
 handgun permit to acquire and not a long gun permit to acquire.
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 then to return to the police department for an in-person registration of their newly

 purchased firearm. This Court should strike Hawaii’s laws because they do not

 survive strict scrutiny.

       But even under intermediate scrutiny, the laws are unconstitutional. The

 intermediate scrutiny test under the Second Amendment requires that “(1) the

 government’s stated objective . . . be significant, substantial, or important; and (2)

 there . . . be a ‘reasonable fit’ between the challenged regulation and the asserted

 objective.” Silvester v. Harris, 843 F.3d 816, 821-22 (9th Cir. 2016) (quoting United

 States v. Chovan, 735 F.3d at 1139). “In order to survive intermediate scrutiny, a

 law must be narrowly tailored to serve a significant governmental interest.”

 Packingham v. North Carolina, 137 S. Ct. 1730, 1736 (2017) (punctuation and

 citation omitted).

       Here, the stated government interest is to “ensure[] that a person’s

 qualifications for owning a firearm are legitimate at the time of purchase and the

 information is not stale.” See Defendant’s Responses to Interrogatories, No. 9,

 Exhibit “A”.5 Yet if this were the case, as described more fully below, then permits

 to acquire long guns would expire in 10 days as well. Because the ten-day handgun




 5
   While Plaintiffs disagree this is a valid interest, “… the assertion of a valid
 governmental interest cannot, in every context, be insulated from all constitutional
 protections.” Packingham, 137 S. Ct. at 1736 (citation and punctuation omitted).
                                          15
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 permit to acquire expiration date substantially burdens Plaintiffs’ Second

 Amendment rights, it fails heightened scrutiny.

       Hawaii’s “Firearm Registrations in Hawaii, 2020”6 (“2020 Report”) further

 belies the Defendant’s differing treatment of long guns and handguns. The 2020

 Report states that there were “25,024 permits issued statewide in 2020 [for] a total

 of 53,481 firearms registered through the year…” Id. at p. 2. Further, “[l]ongarms

 accounted for 55.7% (29,799) of all firearms registered during 2020 …[and] [t]he

 remaining 44.3% (23,682) of firearms registered throughout 2020 were handguns.”

 Id. Of all these firearm permits issued for both long guns and handguns (the state

 does not appear to differentiate between the two), 357 applications were initially

 approved and then the permit was voided because the individual did not pick up the

 permit in time.7 Id. at pp. 1-2.

       Tellingly, the report says nothing about revocations of existing permits to

 acquire, either for handguns or long guns. One would think, if the stated interest

 that a person does not receive a permit to acquire and then commit a felony and just


 6
  Available at https://ag.hawaii.gov/cpja/files/2021/03/Firearm-Registrations-in-
 Hawaii-2020.pdf (last accessed 4.21.2021) (attached as Exhibit “B”).
 7
   While the 2020 Report does not differentiate, there does not appear to be a
 requirement to physically pick up the long gun permit to acquire and use it within
 ten days because it lasts for one year and multiple purchases, as such, it can be
 assumed the voided permits are all handgun permits to acquire. See H.R.S. § 134-
 2(e).

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 go back and purchase another handgun is a legitimate concern, then the State would

 have evidence to support this contention. Or because long gun permits to acquire

 last for a year, then some evidence would be shown that some long gun permits were

 revoked due to criminal offenses after the permits issued.8 But the 2020 Report

 shows no revocation of permits to acquire, even for a long gun permit which is valid

 for one year. This demonstrates the stated interest is not a legitimate governmental

 interest.

        There also can be no argument that in person registration is needed to verify

 “identifying marks on a weapon, like the serial number…” for tracing purposes. In

 order to apply for a handgun permit to acquire, one needs the “Make, Model, Caliber,

 Type/Revolver/Semiautomatic etc, Barrel Length, and Serial Number.”9 If a Federal

 Firearms Licensee (FFL) is selling the firearm to a prospective purchaser, the FFL

 is required by federal law to complete a Firearms Transaction Record (ATF Form




 8
   Nothing is demonstrated for 2019 either:
 https://ag.hawaii.gov/cpja/files/2020/03/Firearm-Registrations-in-Hawaii-2019.pdf
 (see Exhibit “C”); Or in 2018: https://ag.hawaii.gov/cpja/files/2019/05/Firearm-
 Registrations-in-Hawaii-2018.pdf (see Exhibit “D”); Or in 2017:
 https://ag.hawaii.gov/cpja/files/2018/05/Firearm-Registrations-in-Hawaii-2017.pdf
 (see Exhibit “E”).
 9
  http://www.honolulupd.org/information/index.php?page=gunmain. See also VAC,
 ¶ 16.

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 4473)10 which includes the make, model, serial number and caliber or gauge of the

 firearm being sold. It also requires the duplicative information required by Hawaii

 state law.11 One may ask, what if someone purchases a handgun from a non-FFL?

 H.R.S. § 134-2(f) contains the requirements for that scenario.12

        Common sense dictates that the person selling the firearm will want to verify

 that all the permit information is 100% correct so that IF the firearm is used in a

 crime, the person selling can prove the sale. And, the “registering authority”, which

 would already be in possession of the initial registration document, could simply

 cross-reference the initial registration against the mailed-in permit.      In-person

 registration is unnecessary because it is duplicative of what is already required.

      d. Hawaii’s Ten-Day Expiration for Permits to Acquire Handguns is
         Underinclusive

        Underinclusivity is a doctrine that can be used to determine whether a law is

 properly tailored. In constitutional law, underinclusivity follows necessarily from


 10
   https://www.atf.gov/firearms/docs/4473-part-1-firearms-transaction-record-over-
 counter-atf-form-53009/download.
 11
   See H.R.S. § 134-7 for list of disqualifications for firearm applicants, much of
 which mirrors the federal disqualifiers. See generally 18 U.S.C. 922(g). Also,
 during discovery, the City provided its forms and applications for the permit to
 acquire firearms. See Exhibit “F”.
 12
    Requirements for transferring a firearm include (among other requirements),
 verifying the person buying is the person named on the permit, make, model and
 serial number of the firearm, and to send “by registered mail to the issuing authority
 within forty-eight hours after transferring the firearm.”
                                          18
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 the evaluation of a fit between means and ends. See Lorillard Tobacco Co. v. Reilly,

 533 U.S. 525, 556 (2001). Under this standard, what matters is not whether a

 regulation is specifically overinclusive, but rather by how much it is either over- or

 underinclusive. See, e.g., City of Cincinnati v. Discovery Network, Inc., 507 U.S.

 410, 428 (1993) (holding a city ordinance intended to advance safety and aesthetic

 interests unconstitutional because it unjustifiably affected only a small fraction of

 operating news racks, thus constituting an unreasonable fit between ends and

 means). In this circuit, when applying intermediate scrutiny, if the exceptions to the

 law are “so pervasive or without basis as to make the fit unreasonable” it is

 unconstitutionally underinclusive. Pena, 898 F.3d at 981.

       Here, the law is underinclusive because permits to acquire long guns (rifles

 and shotguns, see H.R.S. § 134-2(e)) are valid for one year but permits to acquire

 handguns are valid only for ten days. There is no legitimate reason or basis in

 making a long gun permit to acquire one year and a handgun permit to acquire for

 ten days. Whatever government interest there might be in one is the same as for the

 other. The State’s response to an interrogatory demonstrates the ill fit of this

 requirement. Plaintiffs asked the State to “explain in detail how mandating a permit

 to acquire a handgun becomes void if ‘not used within ten days after the date of

 issue’ further[s] a governmental interest.” The Defendant’s response was that it

 “ensures that a person’s qualifications for owning a firearm are legitimate at the time


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 of purchase and the information is not stale. An example is if someone gets a permit

 but does not use it, and a month later commits a felony and is charged. Without an

 expiration date, that person could let a registered firearm be seized and then use the

 permit to purchase another firearm.” See Defendant’s Responses to Interrogatories,

 No. 9, Exhibit “A”.

       But the Defendant completely ignores the differing treatment of long guns and

 handguns. Plaintiffs sought out this information in another interrogatory, asking the

 Defendant to “describe the difference in permits to acquire long guns and handguns”

 and to explain “why permits to acquire long guns are valid for one year and multiple

 long guns, but permits to acquire handguns are valid for ten days and one handgun.”

 Defendant merely objected to the interrogatory and claimed that it would not “lead

 to the discovery of admissible evidence.”          See Defendant’s Responses to

 Interrogatories, No. 13, Exhibit “A”. In short, there is no real difference and they

 should not be treated differently. The ten-day expiration of handgun permits to

 acquire is an arbitrary number and unsupported by evidence.

       Further, Defendant’s purported justification is belied by current state law

 requiring purchasers of firearms to be entered into an FBI database for “constant

 criminal record monitoring.” HRS § 846-2.7(b)(43) provides authority for “The

 county police departments on applicants for permits to acquire firearms pursuant to

 section 134-2 and on individuals registering their firearms pursuant to section 134-


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 3…” to enter firearm purchasers in “rap back”.13 Rap back is a “service of the [FBI]

 that provides continuous criminal record monitoring … and notifies them when an

 individual subject to a criminal history record check is arrested for a criminal offense

 anywhere in the country. This notification will allow county police departments in

 Hawaii to evaluate if the owner of a firearm may continue to legally possess and

 own firearms.” See Exhibit “G”, p. 1 (SB 2954, signed into law on 6/22/2016).14

       In other words, if the Defendant’s stated interest is blocking a person from

 using a permit after committing a felony, it is unnecessary and an additional

 unjustifiable burden because rap back provides the same “service”. Rap back would

 constantly monitor the criminal records of the gun owner and notify the proper

 authorities if the owner became prohibited. As such, the government interest in

 having a ten-day expiration on handguns permits does not fit at all with Hawaii’s

 stated interest or their ability to register their gun owners on a national database and

 have “constant criminal record monitoring”.

       Defendant’s other briefly stated interest, of having information that isn’t

 “stale”, doesn’t hold any water either. The person’s “qualifications” is that he or she

 isn’t a prohibited person and that he or she has completed (at any time prior to the


 13
   HRS § 846-2.7(a) explicitly mandates that these individuals participate in the “rap
 back program”.
 14

 https://www.capitol.hawaii.gov/Archives/measure_indiv_Archives.aspx?billtype=
 SB&billnumber=2954&year=2016. (last accessed 4.23.21).
                                           21
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 issuance of the permit) various safety and educational programs on firearms. See

 HRS § 134-2(g). Nowhere in this section does it state these qualifications expire.

       As already stated, if Defendant is worried about a permit being used to acquire

 a firearm after the person becomes prohibited, then rap back already covers that.

 And in any event, it completely ignores how long gun permits are treated as they are

 valid for one year and can be used multiple times to purchase multiple long guns.

 Further, H.R.S. § 134-2(e) mandates that “if a permittee is arrested for committing

 a felony or any crime of violence or for the illegal sale of any drug, the permit shall

 be impounded and shall be surrendered to the issuing authority.” There is simply no

 fit here with the purported interest.

       Here, the law at issue bears striking similarities to NYSRPA v. NYC, 140 S.Ct.

 1525 (2020). There, a majority of the Court vacated as moot a decision upholding a

 New York City ordinance that restricted the scope of Second Amendment, with four

 Justices of the Court (three dissenters lead by Justice Alito and Justice Kavanaugh

 in concurrence), writing separately to explain why lower court’s Second

 Amendment analysis was error. The dissent found it is not a reasonable fit to allow

 people to travel on a road to in-City ranges but not on the same road to ranges outside

 the City. It is likewise not a reasonable fit for a handgun permit to acquire to expire

 in ten days, but a long gun permit to acquire is valid for one year.

    e. The In-Person Registration is Unconstitutional


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       The in-person registration requirement is found in H.R.S. § 134-3(c), effective

 September 15, 2020, as amended by HB 2744 H.D. 1, S.D. 2, and requires that “[a]ll

 other firearms and firearm receivers registered under this section shall be physically

 inspected by the respective county chief of police or the chief’s representative at the

 time of registration.”

       The in-person registration requirement is not sufficiently tailored to survive

 either strict or intermediate scrutiny. The permit to acquire requires the make,

 model, serial number, and other identifying marks on the firearm. See H.R.S. § 134-

 2(f). A registrant would provide that information correctly to ensure the accuracy

 of the registration certificate, which protects the person from arrest for an

 unregistered firearm. Hawaii is an outlier state as it is the only state left with this

 requirement as Michigan repealed a similar requirement for handguns, and that law

 aimed only to allow for “safety inspections” rather than crime control. 2008 Mich.

 Pub. Acts No. 195 (2008) (repealing Mich. Comp. Laws § 28.429).

       The Defendant has not provided any evidence that in-person registration is

 required to promote any real government interest. The Defendant’s only proffered

 justification is that “[i]n-person handgun registrations can prevent fraud and reduce

 or eliminate discrepancies.”15 See Response to Interrogatories, No. 6, Exhibit “A”.



 15
    But, the response does not say that it “does” prevent fraud and reduce
 discrepancies, only that it “can”.
                                           23
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 The Defendant was specifically asked in Plaintiffs’ Request for Production of

 Documents to “[p]roduce all documents that support Hawaii’s interest in

 maintaining an in-person registration of handguns.” The State responded as follows:

 “[d]iscovery is ongoing. Defendant will supplement her responses as appropriate in

 accordance with applicable court rules.” See Responses to Plaintiffs’ Request for

 Production of Documents, No. 10, Exhibit “H”. What in-person registration also

 does, as alleged in the Verified Amended Complaint, is cause a hardship on law-

 abiding citizens, such as Plaintiff Yukutake, by mandating that he takes off work on

 an additional day to get the firearm registered. And, if he misses that day, or if it

 were to fall on a day the police department is closed for registration, then he could

 be in violation of the law by not registering the firearm in person.

       The District of Columbia also offered no real justification for the in-person

 requirement, which created the “risk that the gun may be stolen en route or that the

 person may be arrested or even shot by a police officer seeing a man with a gun (or

 a gun case).” Heller v. Dist. of Columbia, 801 F.3d 264, 277 (D.C. Cir. 2015) (Heller

 III). In the District of Columbia’s former code, it stated that “[t]he Metropolitan

 Police Department (MPD) can require a potential registrant to present his firearm

 for inspection. D.C. Code § 7-2502.04(c).” Heller III, at 285. The MPD wanted to

 conduct a physical inspection to “verify that the application information is correct




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 and that the firearm has not been altered.” Id. The D.C. Circuit struck this

 requirement as violative of the Second Amendment.

         This Court should also rule in favor of Plaintiffs because to do otherwise

 would mean a lack of uniformity in the case law of the nation. In the past, the Ninth

 Circuit has warned against creating circuit splits and is “hesitant to create such a

 split, and we do so only after the most painstaking inquiry…” Zimmerman v. Oregon

 Dept. of J., 170 F.3d 1169, 1184 (9th Cir. 1999). The same reasoning should apply

 to a district court. The people of Hawaii should be afforded the same rights as the

 people of the District of Colombia.

    V.      Conclusion

         Plaintiffs respectfully request that the Court grant their Motion for Summary

 Judgment and enter judgment in their favor, holding that the requirements of in-

 person registration and the ten-day expiration of permits to acquire handguns violate

 the Second Amendment to the United States Constitution.

               Dated: April 28th, 2021.


                                  /s/ Alan Alexander Beck
                                  Alan Alexander Beck

                                  /s/ Stephen D. Stamboulieh
                                  Stephen D. Stamboulieh
                                  *Admitted Pro Hac Vice

                                  Attorneys for Plaintiffs


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